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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA



MARDENʹS ARK, INCORPORATED,                              Case No. 19‐CV‐1653 (PJS/DTS)

             Plaintiff,

v.                                                              ORDER OF DISMISSAL

UNITEDHEALTH GROUP INCORPORATED,

             Defendant.



      Based upon the Stipulation for Dismissal filed by the parties on February 9, 2021

[ECF No. 106],

      IT IS ORDERED that this action is dismissed with prejudice as to Plaintiff’s

individual claims and without prejudice as to any other member of the putative class’s

right to bring claims, without costs or disbursements to any party.




Dated: February 9, 2021

                                                       s/Patrick J. Schiltz
                                                       Patrick J. Schiltz
                                                       United States District Judge
